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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 17-MJ-1487-DUTY

13             Plaintiff,                     GOVERNMENT’S OPPOSITION TO
                                              DEFENDANT’S MOTION FOR HEARING IN
14                   v.                       REGARD TO DEFENDANT’S DETENTION
                                              PURSUANT TO CRIMINAL COMPLAINT
15   JOHN RICHARD BRINSON JR.,

16             Defendant.

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18        Plaintiff United States of America, by and through its counsel
19   of record, the Acting United States Attorney for the Central District
20   of California and Assistant United States Attorney Vanessa Baehr-
21   Jones, hereby files its Opposition to Defendant’s Motion for Hearing
22   in Regard to Defendant’s Detention Pursuant to Criminal Complaint.
23   //
24   //
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1         This opposition is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated: July 27, 2017                 Respectfully submitted,

5                                         SANDRA R. BROWN
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9                                               /s/
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11                                        Attorneys for Plaintiff
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         On June 14, 2017, defendant John Richard Brinson Jr.

4    (“defendant”) made his initial appearance in the Eastern District of

5    California on a criminal complaint out of the Central District of

6    California, charging him with production of child pornography, in

7    violation of 18 U.S.C. § 2251(a).       During the hearing, defense

8    counsel waived defendant’s right to an identify hearing, waived any

9    formal reading of the complaint, and waived “further advisement of

10   [defendant’s] constitutional and statutory rights.”           (See Decl. of

11   Vanessa Baehr-Jones (“Baehr-Jones Delc.”), ¶ 2(e).)           Notwithstanding

12   defendant’s waivers, defendant now moves for immediate discharge from

13   custody, arguing that there was a violation of Rule 5.1 since “no

14   waiver of prelim was filed in EDCal.”        (Mot. at 4.)     The record

15   belies this argument, however, given defense counsel’s explicit

16   waivers and the lack of any challenge to the transfer of defendant to

17   the charging district.     Moreover, unlike the Central District of

18   California, the Eastern District does not take written waivers of

19   defendant’s out-of-district rights before transfer and instead

20   conducts these waivers orally.       (Baehr-Jones Decl. ¶¶ 3-4.)       Thus,

21   the lack of a filed waiver form is immaterial.          Defense counsel’s

22   broad waiver included any right defendant might have had under Rule

23   5.1 to have a preliminary hearing held in the Eastern District within

24   14 days of his initial appearance.        Upon appearing in this district,

25   the Court set a preliminary hearing date of August 4, 2017, a date

26   within 14 days of his initial appearance here.          Thus, defendant has

27   not articulated any violation of Rule 5.1 warranting his immediate

28   release.
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1    II.   STATEMENT OF FACTS
2          On June 14, 2017, defendant made his initial appearance in the

3    Eastern District of California before the Honorable Stanley A. Boone,

4    United States Magistrate Judge, on a criminal complaint originating

5    from the Central District of California, charging defendant with

6    production of child pornography, in violation of 18 U.S.C. § 2251(a).

7    (Exh. 1 to Mot; see also 17-MJ-1478-DUTY.)

8          During defendant’s initial appearance, the Court advised

9    defendant of the nature of the charges against him, including the

10   maximum penalties.     (Baehr-Jones Decl. ¶ 2(a).)       The Court further

11   advised defendant of his right to remain silent and his right to

12   consular notification.     (Id. ¶ 2(b).)     Defendant was advised of his

13   right to have court-appointed counsel and Assistant Federal Public

14   Defender (“AFPD”) Reed Grantham was appointed for that purpose.               (Id.

15   ¶ 2(c).)   The Court then instruction the defendant, “Finally, you

16   have the right to have an identity hearing where the Central District

17   of California would have to prove in fact that you are the individual

18   that they are seeking.     Mr. Grantham.”     (Id. ¶ 2(d).)

19         Defense counsel replied, “Thank you, Your Honor.          Assistant

20   Federal Defender Reed Grantham on behalf of Mr. Brinson who is

21   present and in custody.      At this time, we would waive, we would waive

22   that identity hearing.     We would waive any formal reading of the

23   complaint, or further advisement of his constitutional or statutory

24   rights, and deny the allegation in the complaint.”           (Id. ¶ 2(e).)

25   The Court then entered a denial of the charge in the complaint and

26   the parties discussed the issue of detention.          (Id. ¶ 2(f).)    The

27   court set a further hearing on the matter of detention for June 16,

28   2017.   (Id.)

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1          On June 16, 2017, defendant appeared for a detention hearing

2    before Judge Boone.     According to the minutes of this proceeding,

3    defendant submitted and the court ordered defendant detained and

4    transported to the Central District of California.           (Exh. 1 to Mot.,

5    at 2.)   On June 19, 2017, the court issued a signed detention order

6    and commitment to another district.         (Id.)

7          On July 21, 2017, defendant made his initial appearance in the

8    Central District of California before the Honorable John E.

9    McDermott, United States Magistrate Judge.          Gregory Nicolaysen was

10   appointed as counsel for defendant, and a preliminary hearing date

11   was set for August 4, 2017.      Defendant was also advised of his

12   constitutional and statutory rights and was ordered remanded.             During

13   the hearing, defense counsel raised the issue of whether there had

14   been a Rule 5.1 violation and whether defendant had waived his right

15   to a preliminary hearing during his appearances in the Eastern

16   District of California.      (Mot. at 4.)

17         On July 25, 2017, defendant filed the instant motion arguing

18   that defendant had not waived his right to a preliminary hearing in

19   the Eastern District and did not agree to extend the deadline of Rule

20   5.1 since “no waiver of prelim was filed in EDCA.”           (Mot. at 4.)

21         On July 25, 2017, the government learned that the Eastern

22   District of California does not have a standard written waiver form

23   for out-of-district arrests and transfers.          (Baehr-Jones Decl. ¶ 3-

24   4.)   The government further learned that the practice in the Eastern

25   District is for the court to accept such waivers orally.            (Id. ¶ 4.)

26   III. ARGUMENT
27         Rule 5.1 provides that a preliminary hearing must be conducted

28   within 14 days after the initial appearance if the defendant is in

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1    custody unless, among other exceptions, “the defendant waives the

2    hearing.”    Fed. R. Crim. P. 5.1(a)(1), (c).       The rule further allows

3    the defendant to elect whether to hold the preliminary hearing in the

4    district of arrest or the district in which the prosecution is

5    pending.    Fed. R. Crim. P. 5.1(b).        Thus, a defendant may waive his

6    right to a preliminary hearing in the district of arrest and instead

7    choose to hold the hearing upon making his initial appearance in the

8    charging district.     Accordingly, preliminary hearing dates are

9    routinely set for defendants making their initial appearance in this

10   district after they have been arrested elsewhere, waived their out-

11   of-district rights in that district, and been ordered transferred to

12   the Central District.     This process is exactly what occurred in this

13   case.

14        Defendant nevertheless argues that a Rule 5.1 violation occurred

15   here because “no waiver of prelim was filed in EDCal,” suggesting

16   that the Court should infer defendant’s assertion of his right from

17   the absence of the form.      This argument fails.      (Mot. at 4.)    As the

18   government’s attached declaration makes clear, the practice in the

19   Eastern District is to take a defendant’s waiver of his out-of-

20   district rights orally.      The recording from defendant’s initial

21   appearance in Fresno on June 14, 2017, demonstrates that this is

22   exactly what occurred here.      During the initial appearance, Judge

23   Boone instructed defendant of a number of his rights.           Defense

24   counsel, AFPD Grantham, then responded by indicating defendant waived

25   the enumerated rights and waived “further advisement of his

26   constitutional or statutory rights.”         Defendant’s statutory rights in

27   this case included whatever rights defendant may have had under Rule

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1    5.1 to have a preliminary hearing held in the Eastern District before

2    his transfer to the Central District.

3         Moreover, there is nothing in the recording, the docket from the

4    Eastern District, or in defendant’s brief indicating that AFPD

5    Grantham challenged defendant’s transfer to the Central District of

6    California, or further asserted any of defendant’s out-of-district

7    rights.   Accordingly, defendant effectively waived his right to have

8    a preliminary hearing in the Eastern District.          United States v.

9    Amwest Sur. Ins. Co., 54 F.3d 601, 602–03 (9th Cir. 1995) (“An

10   implied waiver of rights will be found where there is ‘clear,

11   decisive and unequivocal’ conduct which indicates a purpose to waive

12   the legal rights involved.”) (quoting Groves v. Prickett, 420 F.2d

13   1119, 1125 (9th Cir. 1970)).

14        Even assuming defendant had addressed and asserted his right to

15   a preliminary hearing during the course of the proceedings in the

16   Eastern District — which he did not — immediate release is not the

17   required remedy.    In United States v. Bagios, for instance, defendant

18   was arrested in the Southern District of New York on an out-of-

19   district complaint.     No. 11-6030-RSR, 2011 WL 817856 at *1 (S.D. Fla.

20   Mar. 2, 2011).    Defendant explicitly stated during his initial

21   appearance that he did not waive his right to a preliminary hearing,

22   but indicated “that he might be willing to continue it.”            Id.   At the

23   subsequent detention hearing, defendant waived a removal hearing and

24   consented to removal to the charging district.          Id.   Upon arrival in

25   Southern District of Florida some 28 days later, defendant moved for

26   discharge from custody under 18 U.S.C. § 3060(b), arguing release was

27   required where no preliminary hearing had been held within the 14

28   days mandated by § 3060(b)(1).       Id. at *2.

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1          In considering the motion, the court noted that defendant had

2    waived further proceedings in the district of arrest and found that

3    “a defendant’s waiver of further proceedings in an arresting district

4    is not entirely irrelevant to the determination of whether justice

5    requires a delay of the preliminary examination when the delay occurs

6    because a defendant is in transit between districts.”           Id. at *4.

7    The court further stated that “Rule 5.1 . . . specifically provides a

8    defendant with the option of proceeding with his preliminary hearing

9    in either the arresting district or the charging district.”            Id.

10   Thus, where a defendant elects to waive further proceedings and

11   instead travel to the charging district for further proceedings,

12   “justice may warrant the delay resulting from the transit period.”

13   Id.   The court then determined, however, that where the 14-day period

14   had expired during a defendant’s transit, the court would require an

15   immediate preliminary examination be offered whether or not the

16   defendant affirmatively requested one.        Id.   Thus, immediate release

17   is not the appropriate remedy, even assuming defendant had raised the

18   issue of his right to a preliminary hearing during his initial

19   appearance in the Eastern District — which he did not.

20         Accordingly, if the Court concludes that defendant’s waiver in

21   the Eastern District was somehow deficient, the government would

22   respectfully request the Court set an immediate preliminary hearing

23   date for July 31, 2017.

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1    IV.   CONCLUSION
2          For the foregoing reasons, the government respectfully requests

3    that this Court deny defendant’s motion as there was no violation of

4    Federal Rule of Criminal Procedure 5.1. 1

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           1The government anticipates that this motion may be mooted by
28   the afternoon of July 28, 2017, as the government intends to present
     an indictment that morning.
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